Case: 23-40524   Doc# 16   Filed: 06/02/23   Entered: 06/02/23 13:39:07   Page 1 of 5
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Case: 23-40524   Doc# 16   Filed: 06/02/23   Entered: 06/02/23 13:39:07   Page 3 of 5
                                                               United States Bankruptcy Court
                                                               Northern District of California
In re:                                                                                                                  Case No. 23-40524-WJL
Calvin Anthony Dobbins                                                                                                  Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0971-4                                                   User: admin                                                                 Page 1 of 1
Date Rcvd: May 08, 2023                                                Form ID: NOFI                                                              Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 10, 2023:
Recip ID                 Recipient Name and Address
db                     + Calvin Anthony Dobbins, 2308 Hilliard Circle, Antioch, CA 94509-5850

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 10, 2023                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 8, 2023 at the address(es) listed below:
Name                               Email Address
Office of the U.S. Trustee/Oak
                                   USTPRegion17.OA.ECF@usdoj.gov

Sarah L. Little
                                   sarah@littletrustee.com c141@ecfcbis.com,nancy@littletrustee.com,ecf.alert+Little@titlexi.com


TOTAL: 2




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Form NOFI
                                    UNITED STATES BANKRUPTCY COURT
                                      California Northern Bankruptcy Court

In     Calvin Anthony Dobbins                               Case No.: 23−40524 WJL 7
Re:                                                         Chapter: 7
         Debtor(s)



  NOTICE OF DEFICIENT FILING REGARDING OBSOLETE FORMS AND DISMISSAL OF CASE IN
                             EVENT OF FAILURE TO CURE

In the above−captioned case, obsolete and/or outdated forms were filed. The required form as indicated below must be
filed to amend each document noted below.

   Voluntary Petition (Official Form 101)
   Summary of Schedules (Official Form 106Sum)
   Statistical Summary of Certain Liabilities (Official Form 106Sum)
   Declaration Concerning Debtor's Schedules (Official Form 106Dec)
   Schedule A − Real Property (Official Form 106A/B)
   Schedule B − Personal Property (Official Form 106A/B)
   Schedule C − Property Claimed as Exempt (Official Form 106C)
   Schedule D − Creditors Holding Secured Claims (Official Form 106D)
   Schedule E − Creditors Holding Unsecured Priority Claims (Official Form 106E/F)
   Schedule F − Creditors Holding Unsecured Nonpriority Claims (Official Form 106E/F)
   Schedule G − Executory Contracts and Unexpired Leases (Official Form 106G)
   Schedule H − Codebtors (Official Form 106H)
   Schedule I − Current Income of Individual Debtor (Official Form 106I)
   Schedule J − Current Expenditures of Individual Debtors (Official Form 106J)
   Schedule J − Current Expenditures of Individual Debtors (for Debtor 2 if separate household, Official Form 106J2 )
   List of Creditors Holding 20 Largest Unsecured Claims (for individual debtors chapter 11, Official Form 104)
   Statement of Financial Affairs (Official Form 107)
   District Approved Chapter 13 Plan Effective 1/1/2023, Version 3
   Other:
NOTICE IS GIVEN that unless, within 14 DAYS OF THE DATE OF THIS NOTICE, the required form is filed for
each document noted above, the court MAY DISMISS this case without further notice or a hearing.

The debtor(s) may request an extension of time to file the required forms noted above, but must do so within 14
DAYS OF THE DATE OF THIS NOTICE. The request may be filed electronically, mailed, or delivered in person to
the court at the address stated below, but it must be received by the court before the 14 days has expired. If an
extension is granted and the documents are not filed before the extension expires, the case may be dismissed.

U.S. Bankruptcy Court
1300 Clay Street, Suite 300
Oakland, CA 94612

Official Forms and District Approved Chapter 13 Plan are available at www.canb.uscourts.gov

Dated: 5/8/23                                      For the Court:

                                                   Edward J. Emmons
                                                   Clerk of Court
                                                   United States Bankruptcy Court



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